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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


THE STATE OF LOUISIANA, By and
through its Attorney General, Elizabeth B.
Murrill;
THE STATE OF KANSAS, By and through
its Attorney General, Kris W. Kobach;
THE STATE OF OHIO, By and through its         Case No.: 6:25-cv-0076-DCJ-DJA
Attorney General, Dave Yost; and
THE STATE OF WEST VIRGINIA, By and
through its Attorney General, John B.
McCuskey

             Plaintiffs,
                                              Judge David C. Joseph
             vs.                              Magistrate Judge David J. Ayo

UNITED STATES DEPARTMENT OF
COMMERCE; JEREMY PELTER, in his
official capacity as Acting Secretary of
Commerce;
BUREAU OF THE CENSUS, an agency
within the United States Department of
Commerce; and
ROBERT L. SANTOS, in his official
capacity as Director of the U.S. Census
Bureau

             Defendants.




        MOTION TO INTERVENE OF THE LEAGUE OF WOMEN VOTERS,
           THE LEAGUE OF WOMEN VOTERS OF FLORIDA, AND
          THE LEAGUE OF WOMEN VOTERS OF NEW YORK STATE
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       The League of Women Voters of the United States (“LWV”) 1, the League of Women Voters

of Florida (“LWVFL”), and the League of Women Voters of New York State (“LWVNYS”)

(collectively, “the League”), by and through their undersigned counsel, respectfully move to

intervene as Defendants in this matter as of right pursuant to Federal Rule of Civil Procedure

(“Rule”) 24(a) or in, the alternative, move for permissive intervention pursuant to Rule 24(b).

Pursuant to Rule 24(c), Proposed Intervenors’ Memorandum in Support of this Motion and Answer

is attached hereto as Attachments 1 and 5, respectively. 2

       Complying with Local Rule 7.6, on April 8, 2025, counsel for LWV, LWVFL, and

LWVNYS informed all parties of their proposed intervention and presented their proposed Answer

to all parties who have an interest to oppose. Plaintiffs oppose the proposed intervention; proposed

Defendant-Intervenors Hannah Victoria Morgan, et. al., and proposed Defendant-Intervenor

County of Santa Clara do not oppose the proposed intervention; and as of the time of writing,

Defendants have not stated their position.


Dated: April 10, 2025                                 Respectfully submitted by,

                                                      /s/ Avner M. Shapiro
                                                      Bradley E. Heard*
                                                      Avner M. Shapiro*
                                                      SOUTHERN POVERTY LAW CENTER
                                                      1101 17th St. NW Ste 550

1
  The League comprises two branches: the League of Women Voters of the United States
(“LWVUS”) and the League of Women Voters Education Fund (“LWVEF”). LWVUS
“encourages informed and active participation in government, works to increase understanding
of major public policy issues, and influences public policy through education, and advocacy.”
LWVUS is a 501(c)(4) social welfare organization. See LVW, Ways to Give,
https://perma.cc/U3VP-HETC. LWVEF “works to register and provide voters with election
information through its election resource VOTE411.org, candidate forums, and debates.”
2
  Proposed Intervenors recognize that this matter has been stayed indefinitely and are filing this
motion in an abundance of caution to ensure that, if the case goes forward, their application for
intervention is considered along with the other applicants.
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                                           * Applications for admission pro hac vice
                                           pending

                                           Attorneys for Proposed Defendant-Interve-
                                           nors the National League of Women Voters
                                           (“LWV”), the Florida League of Women
                                           Voters (“LWVFL”), and the New York
                                           League of Women Voters (“LWVNYS”)
